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                    EXHIBIT 6
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 U.S. Department
 of Transportation                         Office of the Administrator               1200 New Jersey Ave., SE
 Federal Highway                                                                     Washington, D.C. 20590
 Administration
                                            October 24, 2019

Mr. Ron Epstein
Executive Deputy Commissioner/CFO
New York State Department of Transportation
50 Wolf Road
Albany, NY 12232

Dear Mr. Epstein:

Thank you for submitting an Expression of Interest (Eol) to the Federal Highway Admini
                                                                                              stration
(FHW A) on behalf of the New York City Department of Transportation, the Tri borough
                                                                                             Bridge
and Tunnel Authority and your department, requesting authority within the Value Pricing
                                                                                               Pilot
Program (VPPP) to toll motor vehicles within New York City, south of 60th Street, on existing
roadways. This letter responds to your Eol and outlines further information that is required
                                                                                                .
This letter does not constitute an approval or a denial, rather it simply requests additional
information that will be necessary as FHW A contemplates future actions.

As you are aware, the VPPP is intended to demonstrate whether and to what extent roadway
congestion may be reduced through application of congestion pricing strategies, and the
magnitude of the impact of such strategies on driver behavior, traffic volumes, transit ridership
                                                                                                  ,
air quality and availability of funds for transportation programs. In fact, of the multiple VPPP
projects that have been implemented, FHW A has found that congestion pricing can be very
effective for reducing traffic, improving roadway capacity, and providing reliable trips for
automobiles as well as commercial vehicles and transit vehicles.

The FHWA has reviewed your Eol to consider the tolling and pricing concepts. Under the
various programs in Federal law that allow tolling of existing infrastructure, the VPPP appears
                                                                                                    to
be the best potential fit, provided the overall purpose of variable tolling remains to reduce
roadway traffic congestion. While the Eol indicates that a variable pricing structure will
                                                                                             be
implemented to help mitigate congestion, it does not sufficiently express the degree to which
                                                                                                  the
proposed tolling framework would reduce roadway traffic congestion and on which facilities
                                                                                                .
Further, many of the implementation and operational details are still in early stages of
development, including the various impacts associated with traffic diversion.

For FHWA to conduct a thorough assessment, the Agency requests the findings of a thoroug
                                                                                              h
traffic and revenue study to include the following, among other pertinent facts, impacts, and
options:
    A. Estimated reduction in traffic volumes and congestion levels for various types of system
         users, including commercial vehicles and transit vehicles;




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    B. How tolling charges will be varied in the variable priced system, and if and how
       adjustments to the toll pricing schedule will be considered and approved;
    C. Anticipated effects on driver behavior, especially as impacted by congestion charge
       exemptions that may be granted, as well as impacts on low-income drivers and relevant
       mitigation measures under consideration;
    D. Proposed use of revenues generated by the project, especially for operating and
       maintaining the roadway facilities that will be tolled;
    E. Potential impact on transit ridership and plans to sustain the area's transit operations,
       infrastructure, and rolling stock in a state-of-good-repair;
    F. Intended use of Federal-aid highway program funds to implement the project, if
       applicable and if so, procurement and sourcing plans, including plans to maximize
       domestic content; and,
    G. Considerations of the ITS Regional Architecture, systems engineering, and electronic
       tolling interoperability.

The FHW A anticipates that much of this information will be further developed and supported by
analysis done for the traffic and revenue study and during the environmental review process.

In addition, the proposed project is an area-wide congestion pricing system, which is
unprecedented in the VPPP and such type system has not yet been implemented in the U.S.
Therefore, FHWA must consider the precedents set by this project. One such consideration is
that the VPPP requires maintenance of the infrastructure that is subject to the tolling allowed by
the program. However, per our interpretation of the state law that initiates this project, toll
revenues must be used almost exclusively for improving transit systems. The FHWA therefore
requests further information regarding the planned use of revenues and a certification that the
highway and street infrastructure and traffic control devices within the proposed pricing area will
be maintained adequately, as is required in other VPPP projects.

If the Central Business District Tolling Project proceeds to the implementation stage, a toll
agreement between FHWA, your agency, and the other project partners would need to be
developed and signed to secure Federal tolling authority under the VPPP. Upon execution of the
toll agreement with FHWA, New York State DOT (NYSDOT) and your partners could then
implement the project and collect and use the toll revenues consistent with the legal requirements
outlined in Title 23 , United States Code.

The FHW A recognizes that NYSDOT and its partners seek an expedited deployment schedule.
We will review your information as expeditiously as possible following your submittals, but we
cannot guarantee that our determinations will meet your desired start date, especially considering
the complexity and new constructs of cordon pricing that the VPPP has not previously authorized
elsewhere.

Further information on the VPPP is available on FHWA' s Tolling and Pricing Opportunities
Website: http://www.ops.fhwa.dot.gov/tolling_pricing/index.htm. As with all VPPP proposals ,
the Department stands ready to provide technical assistance as requested. If you have any




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specific questions or require additional information related to the Federal interests or
requirements associated with tolling authority under the VPPP or a toll agreement, please feel
free to contact the FHWA Division Administrator for the New York Division Office, Mr. Rick
Marquis, at 518-431-8897.
                                                      Sincerely,




                                                   Nicole R. Nason
                                                   Administrator

cc:
Marie Therese Dominguez, Commissioner, NYSDOT
Polly Trottenberg , Commissioner, NYCDOT
Patrick Foye, Chairman and CEO, Metropolitan Transportation Authority
Allison L. C. de Cerreno, Senior V.P. , Business Operations & Transformation Officer,
Triborough Bridge and Tunnel Authority
William Carry, Senior Director for Special Projects, NYCDOT




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